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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------x
UNITED STATES OF AMERICA,


        – against –                                                         No. 18-cr-614 (KMK)


ARON MELBER,

                                    Defendant.
------------------------------------------------------------------------x




            SENTENCING MEMORANDUM OF DEFENDANT ARON MELBER




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                    Shmuel and Malky Green Letter

                         Basya Melber Letter

                         Chaya Melber Letter

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                      Joseph (Yossi) Fried Letter

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                      Chaim Hersh Lebowitz Letter

                           Dovi Lichter Letter

                         Isaac L. Muller Letter

                        Shimon Rolnitzky Letter

                       Rabbi Mayer Schiller Letter

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                         Aron B. Wieder Letter

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      Exhibit D: Letters from Parents of Students at Imrei Shufer

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                           Elky Fekete Letter

                          Eti Kozlovsky Letter

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                  Abraham and Bina Mendlowitz Letter

                        Yehuda Sicherman Letter

                         Rivka Weltscher Letter

                   Exhibit E: Aleph Institute Report




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       Defendant Aron Melber respectfully submits this sentencing memorandum in support of

his request for a sentence of six months home confinement and 300 hours of community service.

I.     INTRODUCTION

       The sentencing statute provides that “[t]he court shall impose a sentence sufficient, but not

greater than necessary.” 18 U.S.C. § 3553(a). The arc of Aron’s life merits a non-custodial

sentence.

                                                                             , Aron has committed

himself to caring for others.

                                                                                     . As an adult,

Aron vowed to do everything in his power to prevent others from enduring similar traumas.

       As such, Aron has devoted himself to Imrei Shufer, a Hasidic school in Rockland County

uniquely focused on providing educational opportunities for children from troubled homes and

children with disabilities, who are otherwise alienated from the private Hasidic education system.

Aron has experienced the importance of this work firsthand:



                                                             One school, Imrei Shufer, welcomed

Aron’s son with special care. And Aron has worked tirelessly to do the same for other children.

He has given each of his students an opportunity to thrive. But implementing Aron’s vision has

not been easy. His notoriously conservative and closed Hasidic community has frequently

opposed Imrei Shufer’s welcoming philosophy.           The established community fundraising

apparatuses have been unavailable to Imrei Shufer, causing the school to suffer several brushes

with financial ruin.   Although Aron lacks formal training in fundraising or education, his

persistence and dedication to maintaining Imrei Shufer’s caring and open philosophy have



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nevertheless been crucial to navigating these obstacles. By all accounts, the school would not have

survived without Aron’s steadfast leadership. Aron knows that his crimes risked undoing the

stability he achieved for his students and their family; he is deeply sorry that his crime has

jeopardized not only his own future, but also theirs.

       Aron has also shown unflinching commitment to his large family. He dotes on his nine

children, giving each child the attention they need. His older children, who are in their twenties,

rely on Aron for his wisdom and guidance as they navigate young adulthood. Aron gives his

youngest child, who is just two, patience and care even in the mundane tasks of getting dressed or

eating a healthy meal. Throughout the COVID-19 crisis, and particularly during the darkest days

of the lockdown in the spring of this year, Aron’s children have leaned on him more than ever—

some of Aron’s children still wake up in the middle of the night with nightmares about the

pandemic crying for their father to console them. Indeed, the acute terror that Aron’s children still

feel is understandable. While everyone has endured previously unimaginable living conditions

during the COVID-19 pandemic, Aron’s family has suffered more than most. His entire family

contracted the virus in March. Aron himself was seriously ill, and continues to have trouble

breathing. His brother was hospitalized. His father in law was among the tens of thousands of

New Yorkers who perished. And Aron’s mother still requires a ventilator to breath. Throughout

the crisis Aron has tended to his children, parents, and in-laws with kindness, putting others’ needs

before his own.     Plainly, Aron’s personal circumstances are a crucial mitigating factor in

determining the contours of just punishment here.

       Thus, while the Court’s sentencing analysis must begin “by correctly calculating” the

applicable advisory United States Sentencing Guidelines (“Guidelines”) range, Peugh v. United

States, 569 U.S. 530, 536 (2013) (quoting Gall v. United States, 552 U.S. 38, 49 (2007)), that



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calculation has not—and cannot—capture Aron’s humanity and the good he has done in his life

for his family and students.      The advisory Guidelines range, in this case 18-24 months’

imprisonment, is but one element of the Court’s consideration. And they vastly overstate a

reasonable sentence in this case. Particularly given Aron’s critical roles in maintaining stability

for his family and hundreds of students, a sentence of six months home confinement and 300 hours

of community service is sufficient but not greater than necessary punishment for Aron’s crime.

See, e.g., United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006) (“if ever a man

is to receive credit for the good he has done, and his immediate misconduct assessed in the context

of his overall life hitherto, it should be at the moment of his sentencing, when his very future hangs

in the balance.”).

II.       ARON’S UNIQUE DEVOTION TO HIS STUDENTS’ WELL BEING, AND THEIR
          RELIANCE ON ARON WARRANT A SENTENCE OF SIX MONTHS HOME
          CONFINEMENT FOLLOWED BY SUBSTANTIAL COMMUNITY SERVICE

          The first statutory factor that the Court is instructed to consider is “‘the nature and

circumstances of the offense and the history and characteristics of the defendant.’” United States

v. Slater, No. 04-CR-48-036 (JSR), 2012 WL 6808470, at *1 (S.D.N.Y. Dec. 28, 2012) (quoting

18 U.S.C. § 3553(a)(1)). “The Guidelines virtually ignore this measure of the man, but here as

elsewhere the Guidelines must take second place to section 3553(a), which requires a court to take

account of a defendant’s character in imposing sentence.” United States v. Gupta, 904 F. Supp.

2d 349, 354 (S.D.N.Y. 2012). As discussed more fully below, Aron’s pathbreaking leadership at

Imrei Shufer and his unflinching commitment to his students, especially those with special needs

or who have experienced trauma in their young lives, is truly unique in his Hasidic community.

Many of the challenged students who Aron welcomes into his school have faced countless

rejections from other Hasidic schools. They simply have nowhere else to go within their cultural

milieu.
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                          ; Aron’s family discovered that only Imrei Shufer would give his young

son special care. Since then, Aron has given the school his all, guiding Imrei Shufer through

tumultuous financial periods, to realize his vision of a welcoming Hasidic school that continues to

protect its students—just as the school did for Aron’s own son. Aron’s vision and devotion are

rare in the Hasidic educational community. His current and future students rely on him to secure

the warm educational opportunities that only he and Imrei Shufer provide. To avoid permanent

damage to this special school, the Court should sentence Aron to six months’ home confinement

and 300 hours of community service, permitting Aron to continue supporting Imrei Shufer’s

students and families.

       A.      Aron Became Involved in Imrei Shufer’s Administration After


       Aron’s initial involvement with Imrei Shufer was born of necessity.




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                                    So, Aron did not just transfer his son to a different school, he

volunteered at his son’s new school, Imrei Shufer, so he could personally protect his boy.

       During that time, Imrei Shufer faced existential trouble when the head of the school

abruptly moved abroad for family reasons. Rudderless, the school was on the brink of collapse.

(See Ex. B, Rivka Melber Letter at 8.)         Although Aron had no experience with school

administration, after the school had been a savior for his son, Aron simply could not let Imrei

Shufer fail, leaving the students to suffer the consequences. In his wife’s telling, “[b]ecause this

school was a life saver for our son and a necessity for the community, Aron dove in head first to

rescue the sinking ship.” (Ex. B, Rivka Melber Letter at 8.)

       In the years since, Aron has continued to work tirelessly on behalf of Imrei Shufer, to

ensure that it continues to provide both a safe haven and unique educational opportunities for the



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Hasidic children enrolled. He “never forgot his vision and never gave up in his mission to save

young lives in the community.” (Ex. B, Rivka Melber Letter at 8; accord Ex. C, Isaac Muller

Letter at 1 (“I know Mr. Melber as the only person who came to the rescue of my children’s school.

When it seemed like the school was about to fail financially Mr. Melber stepped up to the plate.

He went far beyond the call of duty, for no personal gain, to engage good hearted people to come

to the rescue of the school. I can’t imagine how this great school would have survived without

Mr. Melber.”).)

       B.      Under Aron’s Guidance, Imrei Shufer Prioritizes Educating Children with
               Special Needs who were Rejected by Other Community Schools

       Imrei Shufer’s caring and welcoming philosophy has guaranteed a well-rounded education

even to children who were turned away from other schools in the Hasidic community. For many

of Aron’s students, “Yeshiva lmrei Shufer is the only source of emotional support to the children

who fill its many classrooms.” (Ex. C, Yoel Sterngold Letter at 1.)

       “Aron’s motto is ‘Every kid deserves a chance’ and as such he goes out of his way to admit

. . . kids that have experienced hardships in their young lives, and who aren’t easy to work with . .

. . But Aron is committed to giving them the chance at an education that he believes they deserve

- just like any other child.” (Ex. C, Yossi Fried Letter at 1; accord Ex. C, Chaim Hersh Lebowitz,

Principal of Imrei Shufer school Letter at 1 (“Rabbi Melber set fourth his vision for the school, he

put it down very clear, each child and family that wants to join the Imrei Shufer family, is welcome,

no matter of their past, disadvantages and struggles.”).)

       Eti Kozlovsky, for example, recounts that after her husband suffered a severe episode of

depression, Aron’s school, Imrei Shufer, was the only Hasidic school that accepted her children.

Eti recalls: “none of the [other] private Chasidic schools in all of Rockland County would accept

our children as students because of my husband’s difficulties. All I heard from schools was no no


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no!” (Ex. D, Eti Kozlovsky Letter at 1.) Eti had the opposite experience when she approached

Aron about enrolling her children in Imrei Shufer:

        The only person who responded to my cry for help was Mr. Melber. When I had
        my interview with him [I] was literally shaking awaiting a list of personal questions,
        that I thought would lead to another rejection. That’s not what Mr. Melber did
        though. I will never forget his first question, Mrs. Kozlovski does your family have
        food to eat at home? How are the gas & electric and water bills being paid? All Mr.
        Melber cared about was making sure my children had a stable home and a good
        education.

(Ex. D, Eti Kozlovsky Letter at 1.) Aron was also instrumental in getting Eti’s family back on

their feet:

        Not only did Mr. Melber accept my kids into his school, but for over 4 years until
        my husband got himself together, Mr. Melber quietly made sure that my family was
        provided for. He made sure we had food on the table. The moment we received a
        utility bill disconnection notice, he literally went so far out for my husband and
        family to get it paid or to make a payment plan with the utility company.

(Ex. D, Eti Kozlovsky Letter at 2.) The impact Aron had on Eti and her family simply cannot be

overstated. To Eti, Aron “was sent as an angel from above in the most difficult years of my life.”

(Ex. D, Eti Kozlovsky Letter at 2.)

        Aron is also committed to educating children with disabilities, which is unusual among

Hasidic schools in Rockland County. Imrei Shufer’s openness is similarly transformative for these

students and their families. Aron’s childhood friend, Yehuda Weissmandl, who is their local

school board president, explains: “In my capacity as school board president I got to know all the

different schools and administrators in the community. Aron’s school is one of a kind, and serves

a niche for those who need it most.” (Ex. C, Yehuda Weissmandl Letter at 2.) Whereas “[p]rivate

schools generally cater to achievers and the ones that the school administration believes can and

will easily succeed, Aron has a school that gives every single child that chance.” (Ex. C, Yehuda

Weissmandl Letter at 2.) Yehuda finds it “hard to imagine how [their] community would function

without Aron’s school serving as a refuge for children from distressed backgrounds and high needs

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and who need the extra nurturing that Aron’s school uniquely provides.” (Ex. C, Yehuda

Weissmandl Letter at 2; see also Ex. C, Rabbi Mayer Schiller Letter (“Monsey has one school

which accepts all applicants, the academically challenged, the victims of broken homes and abuse,

many who have failed elsewhere, and those whose true potential has yet to be evoked [t]o keep a

school-of this type running demands a unique individual. Rabbi Aron Melber is that man and lmrei

Shufer is that school.”); Ex. C, Rabbi Chaim Berger Letter (“Aron . . . has opened the doors of his

school and his heart to these children, with utmost warmth and dedication. These kids didn’t stand

a chance with any other school in our community”).)

       Rivka Weltscher, “a parent of a child with cerebral palsy,” who attends Imrei Shufer,

personally experienced Aron’s dedication to creating educational opportunities for every child.

Rivka recounts the pivotal role Imrei Shufer has played in guaranteeing her son’s progress:

       Although, my son is very bright and verbal he is unable to self-ambulate and has
       uncontrolled movements. Every developmental, cognitive, and social milestone
       that my son reaches comes after a lot of work from everyone involved in my child's
       team. As a parent of a child with special needs rejection and exclusion become the
       norm but the pain of it never decreases. It was with fear and trepidation and a lot of
       bravery that my husband and I started to look into a regular education school for
       our child. As prepared as we were, the rejection was extremely painful as people
       saw our child for his disability over all his other abilities and sweetness. And then
       we met Rabbi Melber. He welcomed us into his office as he met our child and
       interacted with him. Finally, someone was able to see my son for who he really was
       and all the potential that he had. With his warm heart and love for every child, he
       warmly accepted my son and welcomed him into the school. My son has been in
       the school for 4 years. Rabbi Melber has advocated for our child numerous times
       and ensured that he was being treated fairly. My son and us as parents were never
       made to feel different or that anyone was doing us a favor.

       The school has done everything in their power to ensure that our son is learning and
       thriving emotionally. My son is now just a regular boy in a wheelchair and is
       confident with his place in society, and all that is an attestation of all the hard work
       that Rabbi Melber has put into the school and our child.

(Ex. D, Rivka Weltscher Letter.)




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       Yoel Lichtman had a similar experience with Aron and Imrei Shufer. Both Yoel and his

wife are disabled. Mr. Lichtman shares that their “joy was indescribable when we were gifted

with a healthy baby boy,” but,

       The bliss would later be marred when the time came to enroll him in school. Seeing
       such handicapped parents turned everyone away. Our dear son              was being
       rejected. The pain was immense. Writing about those days, the feelings of shame,
       loneliness, helplessness, and deep humiliation resurface. My mother, trying to help
       out, walked into the lmrei Shufer School office and asked for an application for her
       grandson. Rabbi Melber inquired where the child’s parents are. Holding back tears
       my mom explained to Rabbi Melber the child’s history. Rabbi Melber cried along
       and soothingly told my mom that her grandson is gladly welcome to join the school.
               was accepted, no strings attached.

       Obviously,           needed lots of help. Rabbi Melber went above and beyond his
       job title and always stood behind our son getting him the necessary treatments. Like
       the school is his second home, Rabbi Melber is his second Dad. He’s always there
       to advocate for our son.

(Ex. D, Yoel Lichtman Letter.)

       The parents of a legally blind student at Imrei Shufer likewise describe how “Aron Melber

has been a godsend to [their] family.” (Ex. D, Yoel Bodek Letter.) They relate that:

       About two years ago, our 12-year-old son              who is legally blind had started
       acting out and misbehave in his previous school . . . . Our             utilizes extra-
       large print, magnifying devices and other technological equipment as tools to help
       him lead a life of independence just like any other boy his age. His special needs
       along with his reported behavioral issues at his previous school made several school
       administrators and principals nervous about taking on the challenge of accepting
                into their school . . . . . Thankfully, this was not the case with the lmrei
               school-Mr. Melber head of the school along with the principal Rabbi
       Lebovits willingly took on the challenge of trying to meet                 needs with
       grace and enthusiasm. They have worked closely with                and us to not only
       accept him but also ensure that his teachers are prepared to help him develop and
       grow . . . . Much of the credit for             journey at this time and in the future
       will be credited to lmrei Shufer and Mr. Aron Melber.

(Ex. D, Yoel Bodek Letter.)

       Countless other families have had comparable experiences with Aron’s devotion to

educating all children with care and kindness. (See, e.g., Ex. D, Abraham and Bina Mendlowitz


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Letter (“When [their son]        was diagnosed with ADHD and suffered from cognitive issues,

Rabbi Melber insisted that he stays in the school, and assured us that the school will do whatever

is necessary to provide him with a proper education.”); Ex. C, Mordechai Binder Letter at 2

(“There was a 10-year-old boy from a divorced home whose father suffered from severe mental

illness. This young         was living with his aunt in Spring Valley and needed a school that

would accept him despite his emotional baggage. Aron jumped to the challenge and accepted

Shimon to his school and helped him grow to the mature and successful adult he is today.”).)

       Aron also provides a safe haven for children faced with profound crises—both educational

and emotional. Aron’s friend, Mordecai Binder, who is “a former member of a voluntary

emergency service organization, Chaverim of Rockland,” and is “a mental health professional,”

recalls an incident where he was called as an emergency responder when the police discovered an

RV where:

       a family of 2 adults and 5 children living there. The smell was unbearable, there
       was no working bathroom, the children had not showered in days or weeks.
       Together with CPS of Rockland, the children were immediately removed from this
       unsafe environment, and were placed in homes where they can be cared for
       properly.

(Ex. C, Mordechai Binder Letter at 1.) But,

       [a]s Chasidic Orthodox children . . . it was very hard to find a school that would
       take them in and work with their educational and social issues. Knowing that Aron
       Melber is always ready to help anyone in need, I reached out to him to see if maybe
       he has an idea. He made immediate plans to meet the boys and it didn’t take long
       before they were accepted into his school. Not only was there no tuition charged,
       he also arranged private tutors and extracurricular activities for these boys through
       the school.

(Ex. C, Mordechai Binder Letter at 1-2.)

       Aron is also determined to welcome into Imrei Shufer children who were otherwise

ostracized from the Hasidic community.          For example, Aron gave Abraham and Bina

Mendlowitz’s “children education[al] opportunities when the rest of the community refused,” as

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when their family “moved away from being ultra Orthodox Jews and became orthodox Jews, most

schools shut their doors to my kids. Being shunned by our community was painful, and we had no

where to go,” but Aron provided their children with an educational refuge, “happily accept[ing

their] kids into his school,” he “gave them a proper education with Jewish studies and secular

studies.” (Ex. D, Abraham and Bina Mendlowitz Letter.)

       Yehuda Sicherman, an NYPD officer whose children are enrolled in Imrei Shufer had a

comparable experience. Because “[b]eing from a Hassidic heritage and being a police officer is a

very rare combination in our community,” when Mr. Sicherman “applied to place [his] children

into yeshiva, every institution in Rockland County denied [his] application because of [his]

profession.” (Ex. D, Yehuda Sicherman Letter.) Aron’s school was the only school to gladly

accept Mr. Sicherman’s children: “Only Rabbi Melber, who expressed to me that he understands

and respects law enforcement, accepted my children into his school with open arms and with a

smile.” (Ex. D, Yehuda Sicherman Letter.)

       Aron’s devotion to maintaining an open Hasidic school that prioritizes educating every

child is exceptional, standing out even to those in the field of Jewish education. Dovi Lichter,

Director of Ancillary Services at Achieve Behavior Health, a childcare and developmental center

in Monsey, explains that although he is “privileged to meet many devoted and dedicated people in

the school system,” Aron’s “selfless approach to his work,” and his “extraordinary commitment

and with unapparelled devotion,” remain rare. (Ex. C, Dovi Lichter Letter.) Mr. Lichter has

observed firsthand Aron’s “love to his students and the drive that he has to see them progress in

school and grow up to be better people.” “Almost on a weekly basis,” Mr. Lichter receives “phone

calls” from Aron, “long after school hours . . . inquiring about his students’ progress and always

seeking ‘what else can we do about this student?’ or ‘Is there anything else the school as a whole



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can do to make this child's life better.’” (Ex. C, Dovi Lichter Letter.) Mr. Lichter can attest that

Aron’s “selflessness knows no-bounds, it keeps him up at nights and motivates him during the

day. Many students of the school that he has established and created from scratch with untold

hurdles and obstacles, with blood, sweat and tears need that extra care and devotion. For many of

them Mr[.] Melber is the only one to provide it for them.” (Ex. C, Dovi Lichter Letter.)

       Aron’s dedication has transformed the lives of many Imrei Shufer students and their

families. Imrei Shufer’s principal, Chaim Hersh Lebowitz emphasizes the impact Aron has had

on his students:

       I can personally attest to many families who straightened out their path in life
       because of Rabbi Melber accepting them to be a part of the School, thereby giving
       them a sense of being a part of society. Seeing their kid coming home from school
       with a beaming smile and pride, brings sunlight and infusing hope into the whole
       family.

(Ex. C, Chaim Hersh Lebowitz, Principal of Imrei Shufer school Letter at 2.) Aron’s essence is

truly his devotion to his students. He is “a master educator and a selfless individual,” and the last

line of support for countless struggling students and their families. (Ex. C, Mordechai Binder

Letter at 2.) Imrei Shufer’s students and their families would bear the brunt should Aron face

imprisonment, and forcing him to separate from the school.

       C.      Aron Ensures that Imrei Shufer Provides Students with a Well-Rounded
               Education, which is Unusual in his Community

       Under Aron’s leadership, Imrei Shufer is also committed to providing a strong secular

education, in addition to the school’s religious studies, which is unusual in Rockland County’s

extremely conservative Hasidic community. Aron “recognized the great need in [the Hasidic]

community for a school that would provide [Hasidic] children a well-rounded education, including

teaching them, both traditional Jewish studies and the traditional way of life, as well as rigorous

secular studies.” (Ex. C, Yossi Fried Letter at 1.) Because “Aron’s goal as an educator is to


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prepare his students to lead well-balanced lives as faithful Jews and productive, self reliant

citizens,” he works tirelessly to equip his students with the education necessary to thrive. (Ex. C,

Yossi Fried Letter at 1; accord (Ex. C, Isaac Muller Letter at 1 (“As a person who truly cares for

his students, Mr. Melber involved himself with his great knowledge to create a great curriculum

for the school as well, both the religious and general studies are designed in mind to shape and

grow the child to be a productive member of society.”).)

       To that end, Aron ensures that Imrei Shufer teaches “subjects that are not taught in the

other Hasidic schools, for example teaching the constitution and [relevant] supreme court

decisions about them, teaching of social issues like reparations for slavery, women’s rights,

gun control,” among others. (Ex. C, Isaac Muller Letter at 1.) Indeed, unlike virtually all other

Hasidic schools, Aron’s school also utilizes the internet as a teaching tool. As one set of Imrei

Shufer parents report: “Rabbi Aron t[a]ught [his students] internet safety to allow the children to

use the internet as an important educational tool, while other schools in the community hate to

touch the subject.” (Ex. D, Abraham and Bina Mendlowitz Letter.)

       In the world of Hasidic education, Aron’s philosophy is nothing short of revolutionary.

(See Ex. B, Yeedle Melber Letter at 3 (“In school, he made it his mission to revolutionize the

Hasidic education system.”).) Aron is truly “a trail blazer, always pushing the envelope and

opening new doors . . . . He advanced and modernized his school on many levels.” Ex. B, Yeedle

Melber Letter at 3 (“As far as I know he is the only Hasidic school with its own official YouTube

channel, Facebook page (Cheder lmrei Shufer), and Instagram account (imreishufermonsey).”).)

Imrei Shufer is simply “exceptional” in the Hasidic community; it is “the product of Aron’s vision

for what a Hasidic school should be.” (Ex. C, Shimon Rolnitzky Letter.) Aron’s visionary




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leadership is critical to “guaranteeing [his students] the best Hasidic education possible.” (Ex. B,

Yeedle Melber Letter at 4.)

       D.      Aron’s Pathbreaking Leadership Comes at a Steep Price in the Hasidic
               Community

       Aron’s accepting philosophy and commitment to well-rounded education are a godsend for

many Hasidic families. But “[r]unning such an excellent school is a very costly endeavor and the

school came dangerously close to shutting its doors.” (Ex. C, Shimon Rolnitzky Letter.)

       Although Imrei Shufer is a private, tuition-funded school, Aron remains committed to

accepting children whose parents are unable to afford to pay tuition: many of Aron’s students “are

either orphaned or from divorced homes, with no tuition dollars being paid to keep the

establishment alive, yet Aron wouldn’t deny them a chance to be the best they can be.” (Ex. C,

Yoel Sterngold Letter at 1-2.) For example, Yehuda Sicherman, who works as an NYPD officer

recounts how, recognizing his financial constraints as a civil servant, Aron “graciously worked

with [him] and lowered [his] tuition from $2,400 per month to $600 per month.” (Ex. D, Yehuda

Sicherman Letter.) Yehuda is deeply grateful for Aron’s commitment to “tak[ing] personal

responsibility for helping parents ensure that their kids [receive] a great education.” (Ex. D,

Yehuda Sicherman Letter; accord Ex. C, Yossi Fried Letter at 1 (Aron frequently accepts children

who “have no financial support to pay tuition. But Aron is committed to giving them the chance

at an education that he believes they deserve - just like any other child.”).)

       Aron’s commitment to all of his students, particularly those requiring extra help and

support, also “strain[s]” Imrei Shufer’s “finances and those of his school, as they require more help

from the school than Aron’s average students.” (Ex. C, Yossi Fried Letter at 1.) These financial

shortfalls “put a bigger burden of the shoulder of Rabbi Melber to work overtime to raise the funds

to run the school.” (Ex. C, Chaim Hersh Lebowitz, Principal of Imrei Shufer school Letter at 1.)


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       Compounding the financial difficulties facing Imrei Shufer, Aron’s “vision” that “each

child and family that wants to join the Imrei Shufer family, is welcome, no matter of their past,

disadvantages and struggles,” came at a “heavy price” for the school as “many well-to-do parents

felt it below their ‘dignity’ to be part of a school with such diversity of struggling parents and

students.” (Ex. C, Chaim Hersh Lebowitz, Principal of Imrei Shufer school Letter at 1.) Because

of the opposition to Aron’s pedagogical vision in the Hasidic community, which is a very “tight

knit, [and] traditional community,” Aron has “had a very hard time and had to overcome a lot of

challenges to make his vision a reality.” (Ex. C, Yossi Fried Letter at 1.) To complicate matters

further, “because the community’s leaders did not support Aron’s initiatives, he did not have

access to the community’s established philanthropists. He had to fundraise himself for Imrei

Shufer through small donations from people who understood and respected Aron’s goals.” (Ex.

C, Yossi Fried Letter at 1.)

       Aron persevered in the face of the financial challenges to his school—even at the expense

of his personal financial security. (Ex. C, Yossi Fried Letter at 1 (“His work to provide a warm

environment for all of lmrei Shufer’s students came at a great cost to Aron personally, including

financial hardship for him and [his] family.”).) Aron’s daughter Goldy recounts how her father

“worked tirelessly day and night. He set up appointments with people of means, explaining his

vision for the school and the dire situation. He requested donations and procured loans. He was

rebuffed many times, but kept going, never giving up.” (Ex. B, Goldy Melber Letter at 3.)

Eventually, “with tremendous efforts and many sleepless nights, the school pulled through. It is

due to [Aron’s] sweat and toil that the approximately one hundred fifty students have a warm,

home-like school where they are accepted as they are, encouraged and given the tools to reach

their potential.” (Ex. B, Goldy Melber Letter at 3.)



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       Even when Aron succeeded in achieving a modicum of financial security for Imrei Shufer,

he could not simultaneously do the same for his family. Aron’s daughter Basya was aware that

“[t]here were times that . . . [her] family was struggling financially. We couldn’t buy everything

and moved to a house with cheaper rent. My parents let us know that we could pray to have enough

money, but Totty made sure not to burden us.” (Ex. B, Basya Melber Letter at 3.)

       E.      Imrei Shufer Would Struggle to Survive Without Aron’s Dedicated
               Leadership

       Aron’s work in the Hasidic community maintaining the school’s welcoming ethos is

virtually irreplaceable. Aron “is the heart of lmrei Shufer.” (Ex. C, Shimon Rolnitzky Letter.)

And his students would suffer greatly in his absence.

       Chaim Hersh Lebowitz, the principal of Imrei Shufer, describes the students’ dependence

on Aron’s unparalleled dedication:

       Your honour, Imrei Shufer school, which is made up of over 150 students, mostly
       from disadvantaged, broken, unfortunate families, will not survive one week
       without Rabbi Aron Melber at the helm. Only this selfless, devoted, passionate
       person, who did not take 1 day [of] vacation for the last Seven years, only this
       person who does not greed for fame or money, could shoulder the burden of running
       Imrei Shufer school.

(Ex. C, Chaim Hersh Lebowitz at 2-3.) Aron plays a personal role in ensuring the success of each

of Imrei Shufer’s 150 students. “He has worked with every individual student and guided this

special school through thick and thin. His efforts simply cannot be replaced. As he as tirelessly

given of himself to others.” (Ex. C, Rabbi Mayer Schiller Letter.) Yoel Lichtman, a parent of an

Imrei Shufer student with special needs details that his young son “need[s] Rabbi Melber in school

on a daily basis” to be “his advocate,” and “[t]o impart his vision and beliefs of every child to the

rest of the staff” at Imrei Shufer.” (Ex. D, Yoel Lichtman Letter.) Yoel credits Aron’s compassion

and commitment to “accepting [his] son” with “helping him grow into a healthy citizen.” (Ex. D,

Yoel Lichtman Letter.)

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       The letter from Rabbi Wels perhaps sums it up best: “You can copy [a] curriculum, but

you can’t copy Rabbi Melber’s caring touch.” (Ex. C, Rabbi and Mrs. B. Welz Letter.) The

contrast between Imrei Shufer, which accepts every student—giving particular attention to

children with disabilities and who have experienced childhood trauma—and other Hasidic schools

that do not, highlights Aron’s irreplaceable leadership. Aron’s special care for his students

continues to make a tremendous impact in their lives. They would suffer tremendously in his

absence. (See Ex. C, Rabbi Chaim Berger Letter (“I beg you please have mercy on Aron, and for

the over 150 kids of his school and their families, and for all the other people of our town who

benefit from Aron’s big heart, as I’m not sure how they will make it without having Aron to guide

them.”).)

III.   ARON SUFFERED THROUGH A DIFFICULT CHILDHOOD BUT GREW INTO
       AN EXCEPTIONALLY DEVOTED FAMILY MAN




            Instead of turning inward, Aron has channeled the energy and pain he experienced as a

child to ensure that his own children and family never feel the abandonment that he suffered. Thus,

he is a particularly devoted father to his nine children ages 2-24, doting on each child individually.

Remarkably, Aron also does not harbor any ill will towards his parents and provides them with

constant care in their old age. Aron’s mother contracted COVID-19 in March of this year. She is

still on a ventilator, and needs 24-hour care. Despite his painful childhood, Aron has taken

responsibility for overseeing her care, and lifting her spirits with daily visits throughout her lengthy

illness. Aron’s large family relies on his giving nature. Because they would suffer terribly in his

absence, the Court should impose a non-custodial sentence on Aron. See, e.g., United States v.


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Sloane, 308 F.R.D. 85, 88 (E.D.N.Y. 2015) (varying below the Guidelines at least in part based on

the court’s recognition that “any imposed incarceration will cause distress and difficulties to

[defendant’s] two sisters”); United States v. Salvador, No. 98-CR-484 (LMM), 2006 WL 2034637,

at *5 n.7 (S.D.N.Y. July 19, 2006) (“family ties and responsibilities” are relevant “as determining

the “‘history and characteristics of the defendant’ as required by 18 U.S.C. § 3553(a)(1).”)

(quotation marks and citations omitted).

       A.




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       Still, Aron has directed his energies outward, caring for his children and aging parents,

rather than nursing his own wounds. Aron and his siblings recognize “that the damage done to the

[c]hild[’]s psychological well-being, has a lifelong negative affect.” (Ex. B, Yeedle Melber Letter

at 2.) So he and his siblings “made a promise to make sure that our children and other families

will never go through our turbulent childhood experience.” (Ex. B, Yeedle Melber Letter at 2.)

Throughout his adulthood, Aron has lived up to that promise, prioritizing his parents and children,

as well as his young students.

       B.      Although Aron had a Painful Childhood he Cares Tirelessly for his Parents
               and In-Laws

       Although Aron endured a turbulent childhood, as an adult, he has cared for his parents with

utmost dedication and affection. In March of this year, during the start of the COVID-19

pandemic, Aron’s mother contracted the virus. She has been gravely ill since. Because “she is a

kidney patient [Aron’s] fright was intensified,” when his mother became sick. (Ex. B, Rivka

Melber Letter at 4.) “After a few weeks,” of her illness, “one morning at 5:00am there was no

choice . . . but to rush her to the hospital. Her devoted son Aron, did not hesitate[.] He was at her



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side in the ambulance and remained there to see her being cared for by the hospital nurses. It’s

already been [many] months-and she’s still on a ventilator.” (Ex. B, Rivka Melber Letter at 4.)

       As Goldy Melber, Aron’s daughter, has witnessed, Aron’s care for his mother has been

steadfast throughout:

       My dear grandmother, mother of my father, is still in the hospital, hooked onto a
       respirator, having been infected with COVID19 over four months ago. At the
       beginning of her illness, when she was in grave danger, my father put all other
       concerns on hold as he fought heroically for her life. When she was rushed to the
       hospital, he didn’t leave until he saw she was being tended to. Day after day, from
       early morning until late in the night, my father was on the phone with doctors and
       nurses, agencies and hospital liaisons. My grandmother was very sick and the
       doctors didn’t give her much hope. My father did everything in his power to save
       her, leaving no stone unturned. He got in touch with top specialists around the world
       and anyone who could possibly be of help. He traveled to the hospital even though
       he couldn't go in to see her so that he could speak to the doctors in person and make
       sure she was getting the best care possible. He made sure to stay on top of the
       situation and spoke to hospital personnel a few times a day. Even during this terribly
       difficult time, my father thought of the overworked healthcare staff and brought
       them platters of delicious food to reenergize. By the grace of G-d my grandmother
       survived and it seems the worst has passed. My father very likely saved her life.
       Though still sick and frail, she is awake, aware and very grateful, while slowly
       recovering.

       When it was impossible for visitors to enter the hospital due to strict regulations,
       my father would visit virtually, via Zoom, singing to my grandmother and updating
       her on recent happenings. Now that it is possible to visit, my father makes sure to
       go every week.”

(Ex. B, Goldy Melber Letter at 5; accord Ex. B, Rivka Melber Letter at 4 (“Luckily the doctors

noted that this frail patient needs someone in her room 24 hours, thus enabling her children to tend

to her during this very trying time. Until permission was granted, my husband would be constantly

on the phone, involved in finding better care, newer options etc.”).)

       Aron’s reliable presence by his mother’s side is important to her still tenuous recovery.

For example, “the process of weaning her from the respirator,” requires Aron’s mother to relax.

Her doctors “keep saying that anxiety is hindering her progress. But,” according to Aron’s

daughter Goldy, with Aron “at her side, she looked calm . . . feeling safe and comforted in [Aron’s]

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presence. She looked happier and so much more peaceful.” Recently, when Goldy went to visit

her grandmother with Aron, “[b]efore he left, [Aron] warmly held [his mother’s] hand, sharing

words of encouragement and love. She relaxed and smiled in appreciation.” (Ex. B, Goldy Melber

Letter at 6; accord Ex. C, Yehuda Weissmandl Letter at 1 (Aron “is also an exceptional son, caring

tirelessly for his ailing mother and his suffering father. In the difficult and scary month of the

Corona epidemic, Aron’s mother unfortunately became serious ill with the Virus. Aron has

relentlessly worried about her care, interacting with doctors and care givers and tending to her

every need. Mrs. Melber is not out of the woods yet but the progress made is a direct impact of the

tireless devotion that Aron contributed to her care.”).)

       Aron has attended to his father with equal devotion, particularly during the scary outset of

the COVID-19 pandemic. As Aron’s wife Rivka recalls:

       During these past months . . . Aron’s father, also fought for his life. He was sick
       with Covid 19, fighting for every breath. Knowing how poor the hospital care was
       in those chaotic weeks, my husband, who was himself sick with the virus, was on
       call 24/7 to do everything possible so that his father could avoid going to the
       hospital. Those weeks were extremely stressful. We had no rest. At some point my
       husband heard about a special tea, cooked with various natural ingredients, which
       would minimize Covid symptoms. He would cook it fresh daily and deliver to his
       father. At long last the severe panic passed and my father in law was out of the
       woods. He was getting better.

(Ex. B, Rivka Melber Letter at 3-4.)

       Aron does not reserve his care and concern for his own parents. He “is a similarly devoted

son in law, tending to the needs of an elderly mother-in-law.” Aron’s mother in law, “Mrs. Green

. . . raised a wonderful family of 17 children.” (Ex. C, Yehuda Weissmandl Letter at 1.) Although

she has 17 sets of children and children-in-law, “when she was unfortunately diagnosed with

cancer and needed full time care,” “[i]t was no surprise” that “Aron and his wife Rivky were the

ones that stepped up and moved in next door to care for her. When her husband passed during the



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peak of the pandemic in late March, it was Aron and Rivky that have been by her side caring for

her every need.” (Ex. C, Yehuda Weissmandl Letter at 1.)

         Aron also spent several years caring for his father-in-law, who suffered a stroke 20 years

ago, and who tragically and suddenly succumbed to COVID-19 early on in the pandemic. (Ex. B,

Rivka Melber Letter at 2 (“The tragic sudden death of my beloved father is still fresh. He was so

unexpectedly taken from us during the beginning of the covid 19 pandemic, leaving us with

haunting nightmares of his final days alone in Mt. Sinai hospital. As a stroke patient, we have been

at his side the past 20 years, yet unfortunately he was left to die alone. The pain is indescribable.”);

accord Ex. B, Izzy Green Letter (“On a personal note, one other thing that struck a chord for me

was watching Aron care for our late grandfather the past few years. Our late grandfather was a

community Rabbi for many years, he suffered from many health conditions, including 2 strokes.

Aron cared for him with such love and devotion the past years.”).)

         Aron himself contracted COVID-19 in the spring, and continues to experience the virus’

lasting effects. See, e.g., Michael Marshall, “The lasting misery of coronavirus long-haulers,”

Nature (Sept. 14, 2020).1 Even his own ailments in recent months have not impacted his continued

dedication to ensuring the well-being of his parents and mother in law. Aron’s ailing parents and

other in-laws rely on his care and presence as they struggle to battle their severe illnesses.

         C.     Aron is an Exceptionally Involved Father: His Animating Principle is
                Ensuring that His Children Never Suffer the Neglect he Did

         Aron is also the father of nine children, ranging in age from 2 to 24 years old, each of

whom depend on him. (Ex. B, Basya Melber Letter at 3.) “Aron takes his responsibilities as a

father very seriously. He is never too tired or too busy, and his wife and children always come

first.” (Ex. C, Yehuda Weissmandl Letter at 1.) Aron’s care as a father is all the more exceptional


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    Available at: https://www.nature.com/articles/d41586-020-02598-6.
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because he suffered such a difficult childhood. (Ex. B, Rivka Melber Letter at 1 (Rivka, Aron’s

wife, “give[s] Aron credit, for being who he is, even though he himself had a very hard

childhood”).)

       And, although his family knows that he is devoted to his school and his students, Aron still

makes sure his children “know that ‘family comes first’ [i]s his way of life.” (Ex. B, Malky Melber

Letter at 3; accord Ex. B, Goldy Melber Letter at 3 (“My father is very involved in community

activism. He is always helping people, giving hours of his time freely. Even so, he is never too

busy for family. We are his top priority.”).) “Aron is the most tuned in father a child could wish

for. Although he is so busy helping others, he is totally involved in each child’s life.” (Ex. B,

Rivka Melber Letter at 1.) He “has a special knack to listen and listen all the way, with all his

heart, and what a big heart he has. A heart so soft and so kind, so generous, so loving. A heart that

will never ever hurt or slight another being,” he is “a role model to [his] children.” (Ex. B, Rivka

Melber Letter at 1.)

       Aron gives his children individual attention, tending to each child’s needs:

       Even if it’s after a long, hard day for my father, you can’t tell. He plays with the
       baby and listens with patience as my siblings and I tell him about our day. My little
       brother is a very picky eater. Some days he won’t eat dinner unless my father spoon-
       feeds him. My father does it gladly, making supper a fun experience for him. He
       plays games with the kids and tells us interesting stories.

(Ex. B, Goldy Melber Letter at 4.) Aron’s wife Rivka counts on the active role that Aron plays in

raising their children with his happy and calm demeanor: “I don’t perform so well when my eyes

are begg[ing] for just a little more rest, as a mother of a lively brood,” but that is “no problem” for

Aron. Rivka explains: “he is here for the precious bunch who are ready to start the new day, and

the morning routine is as smooth as can be.” (Ex. B, Rivka Melber Letter at 2.)

       He gently dresses our preschooler each morning and hums a song while he feeds
       breakfast to our picky morning eaters. He believes kids need proper nutrition to

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       focus and do well, and he gives his precious morning time to make sure breakfast
       gets eaten in a beautiful happy environment. He wishes them well as they skip out
       to the bus.

(Ex. B, Rivka Melber Letter at 2; accord Ex. B, Malky Melber Letter at 2 (Aron’s “ever-present

caring help saves the day once again! He bends over to coax my little brother, who as all little kids

doesn’t like healthy food, to put some nutrition into his mouth. He gladly circles the block with

my two-year-old sister since she wanted a ride in the car. And his patience and affection for all

ages seeps through!”).)

       Aron is also an extraordinarily animated and enthusiastic father to his nine children. His

daughter Goldy recounts:

       After dinner Friday night my father holds the hands of the younger children and
       they sing together, sometimes marching around the room, giggling as they sing. My
       father makes home a joyous place. I also remember how, as a little child, we would
       sometimes run in circles with Totty, to the backdrop of lively music, faster and
       faster, until we dropped to the floor in heaps of laughter.

(Ex. B, Goldy Melber Letter at 4.) “Some of [Goldy’s] happiest childhood memories involve a

sunny afternoon spent with family in the park,” she remembers frequently,

       laughing hysterically as we ran from my father in a game of tag. My father would
       often take us on fun outings, whether to the playground, zoo, a local park or farm.
       It was not the particular destination -- but going there with Totty -- that made these
       trips memorable . . . . I grew up feeling so lucky to have the best father ever and
       proud to be his daughter. I felt safe and protected in his presence; confident in his
       love. Now, years later, my feelings haven’t changed.

(Ex. B, Goldy Melber Letter at 1; accord Ex. B, Basya Melber Letter at 1 (“I enjoy thinking about

the many summer outings which we did as a family. The fun began as we got into the car and went

uphill from there. We spent real quality family time as we picked fruits and vegetables in a farm

or while watching the animals in the zoo. My favorite were the parks where my father would race

us and played tag with us. We squealed in delight as we ran; playing with Totty was fun. With




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Totty, even something as mundane as getting ready for bed was fun. Totty tickled us as he helped

us unbutton our shirts. Anything we did with Totty was fun.”).)

       Aron’s children have always relied on him for help when they have faced challenges.

When his daughter Basya struggled to learn to read, Aron helped her with infinite patience. (See

Ex. B, Basya Melber Letter at 2 (“Totty chose the school he felt would be best for his girls, yet for

some reason I struggled. Totty sat with me and practiced reading which eventually paid off.”).)

His daughter Basya reports, “Totty was always interested in what we were learning and wanted us

to do well.” (Ex. B, Basya Melber Letter at 2.)

       Aron has always given his children’s needs his undivided attention. “Even though Totty

is so busy, when I need advice or help or even just a listening ear, it’s as if nothing else exists for

him.” (Ex. B, Basya Melber Letter at 3.) Aron’s commitment to imparting patience and

understanding on his children has made a real impact on their development as they have grown

into adults. Aron’ daughter Malky, who is 20, credits her father with guiding her journey into

adulthood: “He listens as I explain how I see a concept and teaches me how to view life properly.

And his constant listening ear communicates to me how to listen and behave as a grownup.” (Ex.

B, Malky Melber Letter at 2.) His daughter Basya similarly recalls: “As an eighth grader I got into

a fight with one of my classmates; my father helped me get the right perspective and showed me

how to move on in life. Totty taught me to forgive and forget, to care and so much patience.” (Ex.

B, Basya Melber Letter at 3.)

       Aron has also taken primary responsibility for navigating his children’s health challenges:

“A year ago [Aron’s daughter Basya] went through a medical procedure.” She explains that:

“Totty took me to the pre-op appointments including some last minute ones as complications arose.




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When they wheeled me in, I felt calm knowing I’m not alone.” (Ex. B, Basya Melber Letter at 4.)

Even when she encountered less serious health issues, Basya has always looked to Aron:

       Life has its hurdles; when they came I knew Totty would be there to help me. Totty
       took me to many doctor appointments. . . Totty was very on top of us taking our
       medicine anytime we were sick; he wanted us healthy as soon as possible. I
       remember Totty taking me to many different doctors because I had constant
       headaches. Not only did Totty carve out time in his busy day to take me, Totty did
       it with heart even buying treats and prizes on the way.

(Ex. B, Basya Melber Letter at 2.)

       Similarly, when Aron’s nine-year-old son required mental health counseling, Aron took

charge of ensuring that he received the best possible care. Aron’s wife Rivka recalls that Aron

“did lots of research and set up one of our boys with an excellent therapist to help him with anxiety

issues. Aron drives him to his appointment every week and lovingly waits to bring him home.”

(Ex. B, Rivka Melber Letter at 2.) Shia Beck, a staff therapist at Achieve Behavioral Health, who

treats Aron’s son for “Social Anxiety Disorder,” describes that during meetings to “plan, discuss,

and follow up on [Aron’s son’s] therapy goals, progress, and course of treatment,” Aron “has

consistently presented as a very dedicated, devoted, consistent and loving parent. He . . .

consistently sought out new and better ways to help [his son] and his other children.” (Ex. C, Shia

Beck, MHC Letter.) Mr. Beck also reports that Aron takes a particularly proactive role in his son’s

treatment: “Mr. Melber frequently contacted me to check in on [his son]’s progress and

collaborated with me and with [the] school to further [his son]’s academic, social and emotional

success. In addition, Mr. Melber was always open to learning new parenting skills and to find new

ways to enhance family relationships.” (Ex. C, Shia Beck, MHC Letter.) Mr. Beck has concluded,

based on his treatment experience that Aron’s son:

       very much needs his father in his daily life. [He] feels safe, loved and accepted by
       his father and would be significantly negatively impacted by his father's absence.
       [Aron’s son] is a child with specific challenges. His father’s attunement, sensitivity


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       and availability make a significant, positive impact on [his] functioning and help
       improve his quality of life.

(Ex. C, Shia Beck, MHC Letter.)

       Because Aron has taken such an active role in his children’s lives, his grown children

continue to depend on his love and support—particularly in the difficult time of the COVID-19

pandemic, that has killed one of his children’s grandparents, and seriously sickened two more. As

Aron’s daughter Goldy puts it:

       My parents raised us well, providing us with a solid education and everything we
       needed to develop into independent, contributing adults. Even so, inside, I’m still a
       little girl who needs her father’s reassurance. I need him to hold my hand and lead
       the way. I count on his guidance and trust his advice, knowing that he loves me and
       has my best interests in mind. Like the rest of the world, my family experienced a
       major shake-up in the recent months. Throughout the long weeks of quarantine, the
       fear and uncertainty and the terrible pain of losing loved ones, my father remained
       a pillar of stability for our family, keeping us together with hope and faith and even
       positivity.

(Ex. B, Goldy Melber Letter at 6.)

       Aron’s family has already suffered so much loss during the pandemic—one grandfather

succumbed to the illness, and a grandmother still on a ventilator, and several others hospitalized

and on a slow path to recovery. Aron’s family needs him more than ever during these dark times.

“[S]ometimes” Aron’s younger children still “wake up at night with nightmares, needing to be

calmed. Especially in these turbulent times, they badly need their father close so they can feel

secure.” (Ex. B, Goldy Melber Letter at 6-7.) Aron’s wife Rivka puts it most starkly:

       At this very vulnerable time, when our children have lost so many special loved
       ones, when our children are helping out and watching both grandmothers struggling
       for their lives, each one fighting her own illness, I hope and beg not to shake up
       their world even more. We need stability, we need security. We need a father at
       home. We need Aron home. I plead to you, Dear Judge, please be compassionate,
       and please see Aron for who he really is.

(Ex. B, Rivka Melber Letter at 6.)



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IV.    A CUSTODIAL SENTENCE IS UNNECESSARY TO ACHIEVE DETERRENCE

       Incarceration is similarly unnecessary to deter Aron, or others from committing similar

crimes. Aron is painfully sorry for his criminal conduct, and he recognizes the harm that his crimes

caused underprivileged children who attend schools that depend on e-Rrate funding. (Ex. A, Aron

Melber Letter at 1 (“I am deeply and humbly sorry for the crime I committed . . . . My crime has

harmed innocent students and risked the futures of many more.”).) Aron knows he “will carry the

shame of [his] criminal conduct for the rest of [his] days,” and recognizes that his “reckless

decisions risked everything [he]care[s] about: [his] family, [his] students, [his] reputation as an

educator in the Hasidic community.” (Ex. A, Aron Melber Letter at 1.) He is committed to

“work[ing] tirelessly to try and make amends.” (Ex. A, Aron Melber Letter at 1.)

       Indeed, in addition to his $127,654.55 restitution and forfeiture payment, and indelible

criminal conviction, Aron has taken concrete steps to make amends for his criminal acts. He has

“already stepped down from the school’s financial administration and agree[s] not to have any

input on the operations.” (Ex. A, Aron Melber Letter at 2.) He has also devoted countless hours

since the start of the COVID-19 lockdown this spring, mentoring teenage boys suffering from

depression anxiety. Aron views this work as but a first step towards making amends. (Ex. A,

Aron Melber Letter at 2 (“My only wish is that I have an opportunity to truly make amends for my

mistakes, which have hurt so many. As a start, for the last several months since the lockdowns in

the spring, I have been tutoring Hasidic children suffering from isolation and depression. I know

this is only a small step.”).) With the opportunity, he plans to invest his time and energy to repay

his debt to society and improve his community, after the harm that his crime wrought by diverting

funds from schools serving underprivileged children. (Ex. A, Aron Melber Letter at 2 (“I agreed to

receive Erate money for my school that should have gone to help other students . . . . I understand

how deeply wrong my actions were. I deserve whatever punishment the Court imposes. My only
                                                29
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wish is that I have an opportunity to truly make amends for my mistakes, which have hurt so many

. . . . I hope Your Honor will see fit to . . . give me the chance to continue working

at Imrei Shufer and helping the many struggling students who need a caring mentor.”).)

       Aron has also expressed to countless friends, family and community members “how

terrible he feels for the misdeeds and for not being the role model he should be” for his children

and students who he holds dear. (Ex. C, Shimon Rolnitzky Letter.) Aron “recognizes how wrong

his actions were,” and knows that his mistakes have jeopardized the well-being of his family, his

children, and his students: “he cannot bear to think about the consequences that his students may

suffer for” his actions. (Ex. C, Shimon Rolnitzky Letter; accord Ex. D, Elky Fekete Letter (“Rabbi

Melber did something very wrong, and that he wasn’t honest with a government application and

program. But I can guarantee your honor that he learned his lesson, he feels terrible about his

actions, and he feels even worse that his students could suffer because of what he has done . . . .

I’m sure that Rabbi Melber will actually use his mistakes as a chance to teach his students respect

for the law, so they can learn from his mistakes what not to do.”).)

       He also does not shy away from the very public shame he has endured because of his

participation in this crime, which began from the moment of his arrest on the morning of his

daughter’s wedding. Shmuel and Malky Green describe the scene:

       Aron’s case went worldwide! THE BRIDE’S FATHER ARRESTED THE
       MORNING OF THE WEDDING DAY. Yes, this was true and took place at the
       Melbers. The cries of the youngsters, the bitter tears of the bride’s mother and the
       bride herself! The long awaited day that was going to be so joyful became marred
       and fogged with the arrest of her dear father. In this case the outrageous amount of
       shame and embarrassment was by all means the biggest form of punishment one
       can imagine!

(Ex. B, Shmuel and Malky Green Letter.)




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        Instead, Aron has used his position as an educator to educate his students, family and

community—anyone who will listen—that his grievous mistakes should serve as a cautionary tale.

As Aron’s close friend, Yehuda Weissmandl explains:

       Aron has accepted responsibility for his actions. He pled guilty to the court and he
       also pled guilty to his family[,] his friends and his community. He has taken the
       time over the last few months to explain to all of us - his friends, neighbors, and the
       community more broadly - that he messed up and now he has to pay the price. His
       mistake pains him. I’ve heard him explain to my children and our friends the
       importance of following the laws of this country and the obligation he has to society
       to pay for what he did.

(Ex. C, Yehuda Weissmandl Letter at 2; accord Ex. C, Aron Weider Letter (“I spoke to Aron

recently, and what struck me the most was how openly remorseful he was for his actions.”); Ex.

C, Hersh Horowitz Letter (“I understand that he has been found guilty of fraudulent practices for

which he has expressed his sincerest regret”).) Chaim Hersh Lebowitz, the principal of Imrei

Shufer describes that Aron “is full of regret,” and that “he teaches the students to learn from his

mistakes to be honest all the time.” (Ex. C, Chaim Hersh Lebowitz Letter at 3; accord Ex. C,

Rabbi and Mrs. B. Welz Letter (“Yes, he has sinned against the law. He is paying for it every day

with the shame that he carries in the street.”); Ex. C, Yoel Sterngold Letter at 1 (“Now, as he pleads

guilty, I know that Aron is plagued with guilt and remorse. When I recently spoke to Aron, he

expressed his regret in a profound way ‘I admit that I was short sighted, thinking only of the now

and how . . . . I know I didn’t do the right thing. I would never do it again.’”); Ex. B, Goldy Melber

Letter at 7 (“He is sincerely remorseful and teaches his children and students to be honest.”).)

       Aron is also unlikely to recidivate. He is well beyond the age of offenders where recidivism

is most prevalent. See United States v. Hodges, No. 07-CR-706, 2009 WL 36231, at *8 (E.D.N.Y.

Feb. 12, 2009) (noting that “post-Booker, courts have observed that recidivism is markedly lower

for older defendants”); United States v. Sanchez, No. 99-CR-338, 2007 WL 60517, at *4 (S.D.N.Y.

Jan. 8, 2007) (“With regard to the necessity to protect society from future crimes of the defendant,
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this Court and others have previously declined to impose lengthy guidelines sentences on older

defendants in light of the Sentencing Commission’s conclusion that ‘[r]ecidivism rates decline

relatively consistently as age increases.’” (citing U.S. Sentencing Comm’n, Measuring

Recidivism: The Criminal History Computation of the Federal Sentencing Guidelines, at 12

(2004) and collecting cases)); see also United States v. Hamilton, 323 F. App’x 27, 31 (2d Cir.

2009) (reversing and remanding for resentencing because “the district court abused its discretion

in not taking into account policy considerations with regard to age recidivism not included in the

Guidelines”). Offenders like Aron who have a criminal history category of I and are between 41

and 50 years old recidivate a mere 6.9% of the time. See Measuring Recidivism: the Criminal

History Computation of the Federal Sentencing Guidelines Release One, Exhibit 9 (May 2004),

http:/www.ussc.gov. The subset of true “first offenders,” those who have zero Criminal History

points, are even less likely to re-offend. See Ex. Six to Recidivism and the “First Offender”,

Release Two (May 2004), http:/www.ussc.gov. Only 3.6% of defendants in this category re-offend

in the 24 months following initiation of probation or release from confinement.

       According to the Sentencing Commission’s statistics, defendants sentenced for fraud

crimes with a criminal history category of I are the least likely to re-offend. See Ex. 11 to

Measuring Recidivism. The Sentencing Commission has also clarified that “[t]here is no apparent

relationship between the sentencing guideline final offense level and recidivism risk . . . . the

guideline offense level is not designed to predict recidivism, while the criminal history

computation is designed to predict [it].” Measuring Recidivism at 13. A non-custodial sentence

would achieve the deterrence envisioned by § 3553(a)(1)(C). Particularly given Aron’s remorse,

and the meaningful steps he has taken towards his rehabilitation, the goals of specific deterrence

have already been met. See, e.g., United States v. Hamilton, 323 F. App’x 27, 31 (2d Cir. 2009)



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(vacating sentence because “the district court abused its discretion in not taking into account policy

considerations with regard to age recidivism not included in the Guidelines.”).

       Finally, given the circumstances of Aron’s case, incarceration is also unnecessary to

achieve general deterrence. Although Aron participated in a scheme defrauding the e-Rate

program, there is no evidence that Aron personally received any ill-gotten gains from the

conspiracy.2 Indeed, by all accounts, Aron has always lived a particularly modest material life.

(See Ex. 3, Basya Melber Letter at 3.) Thus, unlike most white-collar cases, Aron did not reap

substantial material profits from to his offense. The absence of pecuniary gain renders a custodial

sentence that much less crucial for achieving general deterrence. See, e.g., United States v.

Zukerman, 897 F.3d 423, 429 (2d Cir. 2018) (“Considerations of . . . deterrence argue for punishing

more heavily those offenses that . . . are lucrative”); United States v. Nehmad, No. 16-CR-829

(AKH), 2020 WL 4586798, at *2 (S.D.N.Y. Aug. 10, 2020) (general deterrence necessary for “a

crime in which a wealthy man succumbed to avarice and greed”) (quotation marks and citations

omitted); United States v. Baldassarre, No. 11-CR-801-02, 2013 WL 3466562, at *3 (E.D.N.Y.

Mar. 27, 2013) (general deterrence that is “achieved primarily by the term of incarceration” is

important for those who would commit “securities fraud for pecuniary gain”).               Whatever

misguided reasons propelled Aron to engage in this crime, the consequences of his conviction—

an indelible felony record, several years’ of supervision severely curtailing his liberty, a

$127,654.55 restitution and forfeiture judgment, and the shame of his indictment and arrest over




2
  Aron accepts full responsibility for his participation in diverting e-Rate funds intended for
underprivileged children’s schools, which were instead used to fraudulently obtain materials and
services, such as internet connections, and cellphones for teachers at Imrei Shufer. He admits that
as the school received equipment and services not authorized by e-Rate, which it would not have
received absent the fraud. Aron has agreed to pay $127,654.55 in forfeiture for the fraudulent
requests that he made on Imrei Shufer’s behalf, which were funded by e-Rate.
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two years ago on his daughter’s wedding day—are sufficiently severe to achieve general

deterrence in this case.

V.     PROBATION RECOMMENDED A SUBSTANTIAL VARIANCE FROM THE
       ADVISORY GUIDELINES BASED ON ARON’S § 3553(A) FACTORS, BUT
       FAILED TO ACCOUNT FOR THE MITIGATING CIRCUMSTANCES
       SURROUNDING ARON’S OFFENSE

       Based on Aron’s lack of criminal history, his employment history, and his family

responsibilities to his nine children and ailing mother, Probation recommended a one-year term of

imprisonment below the advisory Guidelines range of 18 - 24 months. (See PSR at 26-27.) But,

while Aron’s conduct is admittedly serious and deserving of criminal sanction, respectfully, in

concluding that a “custodial sentence would serve to reflect the seriousness of the offense and

afford adequate deterrence to criminal conduct,” (PSR at 27), Probation failed to account for

Aron’s relatively minor role in the conspiracy. Specifically, Probation noted that as a school

administrator Aron “signed many of the certifications allowing vendors to receive E-Rate funds

for equipment that was never provided.” (PSR at 26.) Imrei Shufer, Aron’s school, was only one

of several schools whose administrators similarly requested fraudulent USAC funds, (see, e.g.,

PSR ¶ 22), but Aron was the only school administrator to receive criminal sanction for his role.3

Without minimizing the seriousness of Aron’s criminal conduct, for which he is deeply remorseful,

(see supra § IV), because other school administrators were not prosecuted, it is clear that Aron

played a relatively minor role in the scheme. Six months’ home confinement and 300 hours of




3
  Aron accepts full responsibility for his role in the conspiracy, including signing fraudulent e-Rate
requests on behalf of Imrei Shufer, and initially offering to act as a broker for Sholem Steinberg
and the e-Rate scheme. Recognizing his conduct was wrong, Aron withdrew as a broker, however,
and never actually caused any other school to place fraudulent e-Rate requests through Steinberg.
Indeed, the forfeiture and restitution judgments reflect that improper funding of Imrei Shufer’s
fraudulent requests represent the only actual losses incurred due to Aron’s crime—there is no
evidence that other schools in fact made e-Rate funding requests at Aron’s behest.
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community service, in addition to Aron’s felony conviction, and the severe collateral consequences

he will suffer are just punishment, appropriately reflecting the seriousness of his offense.

VI.    ARON’S FORFEITURE JUDGEMENT SHOULD BE JOINT AND SEVERAL
       WITH HIS CO-DEFENDANT SHOLEM STEINBERG

       Aron’s $127,654.55 forfeiture judgment should be joint and several with his co-defendant

Sholem Steinberg. Any funding requests that Aron made for Imrei Shufer were placed through

Sholem Steinberg, who acted as the school’s purported equipment vendor. See, e.g., PSR ¶¶ 22-

23; see also id. ¶ 48 (“STEINBERG did land a large contract with one School, Imrei Shufer.”).

Thus the $127,654.55 in proceeds that e-Rrate paid for Imrei Shufer’s funding requests are

encompassed in the $191,423.50 of actual loss attributed to and forfeitable by Steinberg. See PSR

¶ 49.4 Indeed, Aron only indirectly received the fraudulent proceeds by benefitting from the

school’s receipt of equipment not authorized by e-Rate, but never obtained cash funds which e-

Rate paid directly to the vendor. In any event, the proceeds provided to the vendor on behalf of

Imrei Shufer represent the universe of fraudulent proceeds.

       Both Aron and Steinberg are responsible for the $127,654.55 of funding from e-Rrate

represented by Aron’s forfeiture plea, thus they “each can still be held liable to forfeit the value of

those tainted proceeds.” United States v. Tanner, 942 F.3d 60, 68 (2d Cir. 2019) (quoting

Honeycutt v. United States, 137 S. Ct. 1626, 1635 (2017)). Still, the government is only entitled

to recover the $127,654.55 of fraudulent proceeds once. See id. at 67 (vacating forfeiture

judgments against co-defendants where the total fraudulent proceeds were $9,703,995.33, but the

codefendants “were ordered to forfeit $9,703,995.33 each rather than jointly and severally, for an

approximate total of $19.4 million,” finding that it was “error for the District Court to order the



4
  At the time of Aron’s plea, the government orally expressed that it agreed that Aron’s forfeiture
judgment would be joint and several with Steinberg.
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defendants to forfeit double that amount, and “vacat[ing] and remand[ing] with instructions to

amend the judgments so that the defendants together are required to forfeit a total of no more than

$9,703,995.33.”). Thus, any forfeiture judgment against Aron should be joint and several as to his

co-defendant Sholem Steinberg.

VII.   CONCLUSION

       For the reasons stated above, Defendant Aron Melber respectfully requests that this Court

impose a sentence of six months home confinement and 100 hours of community service for each

of his three years of supervised release, which would be sufficient but not greater than necessary

to accomplish the objectives set forth in 18 U.S.C. § 3553(a).

Dated: October 27, 2020                      Respectfully submitted,
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